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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------------------x

MONER SALEH and JOSE HENRIQUEZ,
                                                                             1:21-cv-09005-PAE
                                            Plaintiffs,
                 v.                                                          AMENDED COMPLAINT

DIGITAL REALTY TRUST, INC., PAUL BAMRICK,                                    Trial by Jury Demanded
and MANUEL PEGO, in their individual and professional
capacities,

                                            Defendants.
-------------------------------------------------------------------------x


        Plaintiffs MONER SALEH and JOSE HENRIQUEZ (jointly, the “Plaintiffs”), by and

through their attorneys, Eisner Dictor and Lamadrid P.C., and for their Amended Complaint

against Defendants DIGITAL REALTY TRUST, INC. (“DLR” or “the Company”), PAUL

BAMRICK, and MANUEL PEGO (collectively, “Defendants”), allege as follows:

                                           NATURE OF ACTION

        1.       Plaintiffs brings this action seeking relief against Defendants for race and color

discrimination and retaliation, in violation of the New York City Human Rights Law, New York

City Administrative Code §§ 8-101, et seq. (“NYCHRL”).

        2.       The claims at issue in this matter involve Defendants’ discriminatory

mistreatment of Plaintiffs on account of their race and skin color.

        3.       Defendants systematically targeted the Plaintiffs and other dark-skinned DLR

employees by, inter alia, segregating the workplace based on skin color, unfairly targeting dark-

skinned employees with discipline, creating a hostile work environment for dark-skinned

employees, failing to promote the Plaintiffs and other dark-skinned employees, and demoting

Plaintiff Saleh and other dark-skinned employees.
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       4.      Disheartened and demoralized by the disparate treatment they and their similarly

situated dark-skinned colleagues were experiencing, each Plaintiff separately complained to

Defendants about the discriminatory treatment.

       5.      In blatant and egregious acts of retaliation, and notwithstanding each of the

Plaintiff’s respective nearly twenty (20) years of excellence working for Defendants, Defendants

retaliated against the Plaintiffs after they opposed discrimination at the workplace, including,

inter alia, terminating both Plaintiffs from their employment.

       6.      Plaintiffs seek to remedy the harm that they suffered and continue to suffer as a

direct and proximate consequence of workplace discrimination while working for Defendants, as

well as the harm they suffered and continue to suffer as a direct and proximate consequence to

unlawful retaliation, including but not limited to their unlawful terminations from their

employment.

       7.      Plaintiffs seek declaratory relief, monetary damages, and punitive damages for

Defendants’ violations of the NYCHRL, as well as all other remedies available to them.

                                 JURISDICTION AND VENUE

       8.      Plaintiffs’ discrimination claims arise under NYCHRL, Administrative Code of

New York §§ 8-101, et seq.

       9.      This Court has original jurisdiction over this action pursuant to 28 U.S.C. §

1332(a), in that it is a civil action in which the matter in controversy exceeds $75,000, exclusive

of interest and costs, and is between citizens of different states.

       10.     Both Plaintiffs are residents and citizens of the State of New York.




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       11.     Defendant Digital Realty Trust, Inc. is not a citizen of the State of New York

within the meaning of 28 U.S.C. § 1332(c)(1), and is a Maryland corporation with its principal

place of business in the State of Texas.

       12.     Defendant Paul Bamrick is not a citizen of the State of New York within the

meaning of 28 U.S.C. § 1332, and is a resident and citizen of the State of New Jersey.

       13.     Defendant Manuel Pego is not a citizen of the State of New York within the

meaning of 28 U.S.C. § 1332, and is a resident and citizen of the State of New Jersey.

       14.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b) because a

substantial part of the events or omissions giving rise to this action, including the unlawful

employment practices alleged herein, occurred in this district.

                                  PROCEDURAL HISTORY

       15.     On October 4, 2021, Plaintiff Saleh filed the instant action in the Supreme Court

of the State of New York, County of New York, under the caption Moner Saleh v. Digital Realty

Trust, Inc. and Paul Bamrick, in his individual and professional capacity, Index No.

159045/2021.

       1.      On November 2, 2021, Defendants removed the instant action to this Court, on

the basis of this Court’s diversity jurisdiction pursuant to 28 U.S.C. §§ 1332, 1441 and 1446.

(See Docket No. 1.)

       2.      On December 9, 2021, Defendants served their Answer in this matter. (See

Docket No. 11.)

       3.      21 days later, on December 30, 2021, Plaintiff filed the instant Amended

Complaint as a matter of course pursuant to Rule 15(a)(1)(B) of the Federal Rules of Civil

Procedure.


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                                            PARTIES

       4.      Plaintiff MONER SALEH is an adult individual who resides in Kings County,

New York.

       5.      Plaintiff Saleh was employed by Defendants between 1999 and 2019.

       6.      Plaintiff Saleh is a dark-skinned person of Arab ethnicity.

       7.      Plaintiff JOSE HENRIQUEZ is an adult individual who resides in Duchess

County, New York.

       8.      Plaintiff Henriquez was employed by Defendants between September 2010 and

November 30, 2021.

       9.      Plaintiff Henriquez is a dark-skinned person of Hispanic ethnicity.

       10.     Defendant DLR is a data center company and real estate investment trust that

invests in carrier-neutral data centers and provides colocation and peering services.

       11.     Defendant DLR is a Maryland corporation that is headquartered in Texas, with

operations in the City of New York at: 32 Avenue of the Americas, New York, New York

10013; 60 Hudson Street, New York, New York 10013; and 111 8th Avenue, New York, New

York 10011.

       12.     Defendant PAUL BAMRICK is an adult individual who resides in the State of

New Jersey.

       13.     Defendant Bamrick is a White male.

       14.     Defendant Bamrick was, at relevant times, Regional Operations Manager for

DLR, and Plaintiffs’ employer.




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       15.     At all times relevant to the claims at issue, Defendant Bamrick made personnel

decisions on behalf of Defendant DLR, including decisions involving Plaintiffs, such as

decisions related to hiring, demotions, promotions, and terminations.

       16.     Defendant MANUEL PEGO is an adult individual who resides in the State of

New Jersey.

       17.     Defendant Pego is a White male.

       18.     At all times relevant, Defendant Pego was a DLR manager and Plaintiff

Henriquez’s direct supervisor.

       19.     At all times relevant to the claims at issue, Defendant Pego made personnel

decisions on behalf of Defendant DLR, including decisions involving Plaintiff Henriquez, such

as decisions related to hiring, demotions, promotions, and terminations.

                                 FACTUAL ALLEGATIONS

                                          Background

                                          Plaintiff Saleh

       20.     Plaintiff Saleh was hired to work as a Customer Service Representative for Telx

Group (“Telx”) in 1999, where he was paid $10 per hour.

       21.     In recognition of his dedication and excellent performance, Plaintiff Saleh would

be continuously promoted over the next 18 years.

       22.     In 2000, Plaintiff Saleh was promoted to Technician and briefly stayed in that title

from 2000 through 2001.

       23.     After receiving another promotion, Plaintiff Saleh became a Facility Maintenance

Technician from 2001 through 2003.




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       24.      Plaintiff Saleh was then promoted to a supervisory role as Maintenance

Supervisor which he maintained for six (6) years, from 2003 through 2009.

       25.      Plaintiff Saleh’s rise to the top continued when he was promoted to Data Center

Operations Manager and maintained the duties and responsibilities in that title for the next eight

(8) years, from 2009 through 2017, earning approximately $86,000 per year.

                                       Plaintiff Henriquez

       26.      In September 2010, Mr. Henriquez was hired by the Telx Group (“Telx”) to be

an Installation Technician.

       27.      Throughout his employment, and until the time that the discriminatory practices at

issue began, Mr. Henriquez was recognized by his peers and superiors as an outstanding

employee, and regularly received stellar performance reviews by his managers.

       28.      As evidence of his excellence, Mr. Henriquez has received employee recognition

awards and has been promoted several times, most recently to the position of Senior Facility

Technician in 2017.

                                       DLR Acquires Telx

       29.      In or about 2015, DLR purchased Telx in one of the largest acquisitions in the

industry.

       30.      Thereafter, in 2017, Defendant DLR’s acquisition of Telx was finalized and the

Plaintiffs became employees of DLR.

       31.      In 2017, as part of DLR’s acquisition of Telx, Defendant Bamrick became

Regional Manager of DLR and Plaintiffs’ employer.

       32.      Moreover, in 2017, Manuel Pego became the direct supervisor of Defendant

Henriquez.


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       33.     Immediately thereafter, with Defendant Bamrick at the helm, a campaign of

discriminatory conduct began against Plaintiffs and other dark-skinned DLR employees that

included demotions of dark-skinned employees, racial segregation at the workplace, failure to

promote dark-skinned employees, unfair discipline targeting dark-skinned employees, a hostile

work environment for dark-skinned employees, and retaliation for complaints of discrimination,

including, inter alia, the unlawful termination of both Plaintiffs from their employment.

                           DLR Discriminates Against the Plaintiffs

                                     DLR Demotes Plaintiff Saleh

       34.     On or around April 2017, when Telx was acquired by Defendant DLR, Plaintiff

Saleh’s direct supervisor Erik Falk assured him and others that they would remain in the same

title as employees for their new employer, Defendant DLR.

       35.     Relying on Mr. Falk’s assurance, Plaintiff Saleh attempted to order new business

cards a few days later.

       36.     In response to his attempt to order business cards, Mr. Falk called Plaintiff Saleh

into his office and informed him that his new supervisor Defendant Bamrick had decided to

demote Plaintiff from Data Center Operations Manager to Senior Operations Engineer.

       37.     Defendants provided no explanation for Plaintiff Saleh’s sudden demotion.

       38.     Mr. Falk also informed Plaintiff Saleh that Defendant Bamrick had decided to

give the now open position of Data Center Operations Manager to Kevin Groen, a lesser-

qualified White facility engineer.




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                       DLR Segregates the Workplace Based on Skin Color

                                          Plaintiff Saleh

          39.    Approximately one month after Defendants decided to demote Plaintiff Saleh

without any explanation, Defendant Bamrick advised Plaintiff and all other non-managerial

employees, all of whom were also dark-skinned and all of whom had been demoted without

explanation, that they were no longer allowed to occupy any offices.

          40.    Accordingly, Plaintiff Saleh and his similarly situated dark-skinned colleagues

were required to collect their belongings from their respective offices and sit together, in shame,

at a large communal table, outside of the separated DLR cubicles.

          41.    The communal table had no phones or LAN connection, and therefore all who

were required to use the communal table were unable to adequately perform their work

responsibilities.

                                        Plaintiff Henriquez

          42.    For the last two (2) years of Plaintiff Henriquez’s employment, Plaintiff

Henriquez and his dark-skinned shift partner Mark Zabala were relegated to work the “graveyard

shift.”

          43.    No White DLR employees are assigned to the “graveyard shift.”

          44.    The “graveyard shift” is considered by all DLR employees to be the least

favorable shift because those working that shift are precluded from participating in most of the

major day-to-day projects and activities which DLR management uses to justify promotions and

pay increases.

          45.    Because of this discriminatory and segregated assignment, neither Plaintiff

Henriquez nor his shift partner Mr. Zabala were promoted.


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       46.      Upon information and belief, Mr. Zabala has been on the night shift for almost

three (3) years and has never been promoted while at DLR.

       47.      When Plaintiff Henriquez went on temporary leave on or about October 8, 2021,

Plaintiff’s Henriquez’s night shift replacement was another dark-skinned DLR employee named

Sharif Brook.

       48.      By contrast, the DLR employees assigned to the more favorable day shift are

exclusively White employees: Donald Nielson, Bruce Lindsay, Mark Cullia, Darius Wachnik

and Evan Boccardi.

       49.      Each of the White employees has been on the day shift for approximately three

(3) years, and each of them has less experience working for the Company than Plaintiff

Henriquez.

       50.      Plaintiff Henriquez and his shift partner Mr. Zabala have requested to be

transferred to the day shift on several occasions, and most recently at a team meeting that took

place on or about April 18, 2020.

       51.      Defendant Pego assured them both that the shifts would be re-organized by

January 2021.

       52.      However, no such reorganization took place, and the discriminatory shift

assignment—which segregates dark-skinned employees to the “graveyard” shift and White

employees to the day shift—remained in place as of the date of Plaintiff Henriquez’s December

1, 2021 termination.




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                               DLR Fails to Promote the Plaintiffs

                                         Plaintiff Saleh

       53.     In the summer of 2018, Plaintiff Saleh’s former position of Data Center

Operations Manager at DLR became available to applicants.

       54.     In October 2018, unbeknownst to Plaintiff Saleh—and rather than allowing

Plaintiff Saleh to return to his former position as Data Center Operations Manager, and rather

than providing Plaintiff Saleh with the opportunity to reapply to his former position—Defendant

Bamrick advertised the position externally and hired a new White employee named Erik Greiner.

       55.     Mr. Greiner was entirely new to the company, having no prior history working for

DLR, and did not have the same level of work experience as Plaintiff Saleh.

       56.     Nevertheless, Mr. Greiner became the Data Center Operations Manager and

Plaintiff Saleh’s direct supervisor.

       57.     In November 2018, Defendant Bamrick repeated the discriminatory conduct by

externally recruiting and hiring Steve Robbins, a White engineer, to the role of Data Center

Supervisor.

       58.     Instead of announcing the job opening internally, which would have allowed DLR

employees with an interest in the job opportunity to apply, DLR quietly recruited for the position

outside of DLR without advising DLR employees of the open position.

       59.     As a consequence, Plaintiff Saleh and two other qualified dark-skinned employees

Brian Baldwin and Ricardo Clark were deprived of the chance at the promotion.

       60.     Despite Plaintiff Saleh’s, Mr. Baldwin’s, and Mr. Clark’s repeated attempts to

acquire information about and apply to the promotion, DLR did not respond to them or otherwise

provide them with information on how to apply to the position of Data Center Supervisor.


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       61.     Plaintiff was more than qualified for the position of Data Center Supervisor at the

time that he was passed over for the opportunity.

                                       Plaintiff Henriquez

       62.     In August 2017, the position of Lead Engineer at DLR became available for

applicants.

       63.     Although the Company was well aware that Plaintiff Henriquez was interested in

applying for the position of Lead Engineer, DLR management did not advise him or his similarly

situated dark-skinned co-workers of the open position.

       64.     Given Plaintiff Henriquez’s long tenure with the Company, including his work as

a Senior Engineer on the night-shift and his open interest in the position, Plaintiff Henriquez

should have been next up for consideration for the promotion.

       65.     Nevertheless, in February 2020, DLR quietly promoted Bruce Lindsay, a White

DLR employee with less experience than Plaintiff Henriquez and only two (2) years of

experience at DLR.

        DLR Unfairly Disciplines Plaintiff Henriquez and Other Dark-Skin Employees

       66.     DLR has a practice of disparately applying rules and policies against dark-skinned

employees in ways that greatly disfavor them compared to the way they are applied to the White

employees, and systematically singles out the dark-skinned employees for discipline.

               DLR Punishes Plaintiff Henriquez for Not Falsifying DLR Records

       67.     In November 2019, Plaintiff Henriquez refused to follow a directive from

Defendant Pego ordering him to fraudulently backfill one years’ worth of documentation

involving the DLR Legionnaire cooling tower log-books.




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         68.    Plaintiff Henriquez only agreed to backfill the documents with dates that he knew

he was actually at work, but refused to create entries that he knew were false (i.e., involving

dates when he was not at work.)

         69.    A few weeks later, the Department of Health made a surprise visit to DLR and

gave the Company a citation for not producing certain documents.

         70.    After being called into a meeting with Defendant Bamrick and Defendant Pego,

Plaintiff Henriquez was given a disciplinary “write-up” and placed on a 60-day performance

improvement probation program for his refusal to create knowingly false entries in the log-

books.

         71.    Another DLR manager named Ricardo Montes advised Plaintiff Henriquez that

his discipline was unfair.

         72.    No White DLR employees have been required to falsify documents, and certainly

never disciplined for failing to do so.

         73.    On the contrary, in addition to Plaintiff Henriquez, his dark-skinned shift partner

Mr. Zabala was also recently ordered to destroy six (6) months of documents related to the DLR

Legionnaire record books, and then made to rewrite the entries with false information.

               DLR Punishes Plaintiff Henriquez for Requesting Vacation and Leave

         74.    On or about December 16, 2019, during a meeting with his supervisors Defendant

Pego and Eric Falk, Plaintiff Henriquez was again disciplined due to his request for approved

time off.

         75.    Defendant Pego advised Plaintiff Henriquez that the reason for the disciplinary

action was because Plaintiff Henriquez did not provide two weeks’ notification and also

demonstrated a pattern of “piggy-backing” days off with weekends.


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       76.     Plaintiff Henriquez explained to Mr. Falk and to Defendant Pego that he did not

believe he was violating DLR’s company policy and that his approved time off was always

requested and approved in advance.

       77.     Plaintiff Henriquez further explained that he had been with DLR for

approximately 19-years at this time, and that he was very familiar with the Company’s procedure

for requesting approved time off and had never been reprimanded for failing to comply with that

procedure.

       78.     Nevertheless, Defendant Pego demanded Plaintiff Henriquez to resend all the past

emails for any dates that he had requested time off over the past year, and Plaintiff Henriquez

immediately complied.

       79.     There was never any follow-up.

       80.     By contrast, White DLR employees such as Defendant Pego, Bruce Lindsay,

Mark Cullia, Evan Boccardi, Don Neilson, and Darius Wachnik frequently take days off that are

connected to weekends, and are never disciplined for such practices.

       81.     Furthermore, DLR requires two (2) days’ notice in order to take one (1) day off

and two (2) weeks’ notice in order to take extended vacation time.

       82.     Among other examples, in August 2021, Darius Wachnik, a White employee,

requested seven (7) days off for vacation only six (6) days in advance, and such request was

approved by DLR management with no issue.

        DLR Punishes Dark-Skinned Employees Only for Inspection Log Discrepancies

       83.     On or about August 31, 2021, Defendant Pego called a telephone meeting with

Plaintiff Henriquez and his colleagues.




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          84.      At the beginning of the call, Defendant Pego asked everyone to leave the call

except for Plaintiff Henriquez, Mr. Zabala, and Mr. Wachnik (who is White and in his sixties.)

          85.      Defendant Pego advised them that he had found a written discrepancy within their

daily inspection logs, and that the purpose of the call was to reprimand them and advise them

that they would be disciplined for documenting the wrong values.

          86.      Throughout the call, Defendant Pego’s tone was threatening: he spoke

aggressively, shouted, and used profanity. He shouted and cursed at them for thirty minutes, at

some point yelling, “there are write ups coming for everyone.”

          87.      Defendant Pego then directed his attention to Mr. Wachnik, the only older

employee at DLR, shouting, “I don’t care how old you are!”

          88.      Defendant Pego ended the call by shouting to all three of them, “I fucking dare

you to go to HR… I dare you to go!”

          89.      Ultimately, only Plaintiff Henriquez and Mr. Zabala were disciplined with write-

ups, while Mr. Wachnik—who is White—was not.

          90.      Discrepancies in the inspection logs at DLR are very typical and occur every day,

yet Defendant Pego has never reprimanded or disciplined any White employees for such

discrepancies.

                DLR Has a Different Set of Company Rules for Dark-Skinned Employees

          91.      DLR requires non-White employees to abide by rules that are not even company

policy.

          92.      One example occurred on or about September 26, 2021, when Plaintiff Henriquez

was required to take a sick day due to complications from an emergency dental surgery he had

undergone over the weekend.


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        93.      Plaintiff Henriquez contacted Defendant Pego and Mr. Lindsay, the team lead,

and explained the situation, and Defendant Pego said it was fine.

        94.      However, the next morning, Defendant Pego sent an email to Plaintiff Henriquez

requesting a doctor’s note.

        95.      DLR typically does not require employees to provide doctors’ notes when they

call in sick for one day.

        96.      Defendant Pego has never requested doctor’s notes from any of Plaintiff

Henriquez’s similarly situated White colleagues who have called in sick for one day.

        97.      Prior to the Covid-19 pandemic in the spring of 2020, Plaintiff Henriquez had not

called in sick for well over one year, while his similarly situated White counterparts regularly

call in sick at the last minute.

              DLR Creates a Hostile Work Environment for Dark-Skinned Employees

        98.      Over the past few years, the environment for dark-skinned employees working at

DLR has been permeated with discriminatory intimidation.

        99.      The Plaintiffs and their dark-skinned co-workers have been frequently subjected

to: screaming fits involving demeaning language and extreme profanity, exposure to racist

epithets, race segregation, and life-threatening work.

        100.     The White employees are not subject to the same hostile environment.

                                   Abusive Language and Profanity

        101.     DLR management has regularly shouted at and used profanity with dark-skinned

employees.




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          102.   One example of many occurred in December 2018, when Plaintiff Henriquez

went to Defendant Pego’s office in order to hand deliver his year-end self-assessment and

review.

          103.   Defendant Henriquez found himself alone with Defendant Pego in his office.

          104.   Defendant Pego, who appeared to be enraged at the sight of Plaintiff Henriquez,

screamed, “What the fuck do you expect me to do with this now? I wanted this completed

yesterday and you’re fucking showing up here now? You think I don’t have my own shit to do?”

          105.   Defendant Pego does not shout at or use such profanity with White employees,

which made Plaintiff Henriquez feel all the more worthless and ashamed.

                                          Racist Epithets

          106.   DLR management has regularly utilized racist epithets at the workplace.

          107.   For example, on or about June 2021, and in Plaintiff Henriquez’s presence,

Defendant Pego made racially derogatory comments about another DLR employee named Sharif

Brook, who is African-American, to Bruce Lindsay, who is White.

          108.   Specifically, Defendant Pego stated, “Black guys like him from the South are a

little slow.”

          109.   Plaintiff Henriquez felt humiliated by Defendant Pego’s openly racist comments

targeting dark-skinned employees.

          110.   In or about February 2020, during a DLR team meeting, Evan Boccardi

mentioned that there was a woman candidate who had applied for a position within their

department.

          111.   Defendant Pego stated, “DLR is not hiring that woman. We don’t need any more

‘Altheas’ working here.”


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         112.   By “Althea” Defendant Pego was referring to a dark-skinned woman from

Guyana who was employed in another DLR department.

         113.   After Defendant Pego openly refused to hire a dark-skinned woman on account of

her skin color, DLR instead hired Marc Cullia, a White man, for the open position.

         114.   On or about December 22, 2019, after a team meeting held inside the 5th floor

Network Operation Center (“NOC”) room at JFK12, the office where DLR’s facility engineers

are stationed, Plaintiff Henriquez mentioned to his team members that he saw Bill Stein on

television ringing in the bell at the New York Stock Exchange.

         115.   Defendant Pego, who had been listening, stated loudly, “yeah I heard.”

         116.   Plaintiff Henriquez and his co-workers disregarded Defendant Pego’s interjection

and continued the discussion.

         117.   Defendant Pego then abruptly stood up to leave the room. As he was leaving, he

shouted, “fuck Bill Stein that fucking Jew!”

         118.   Plaintiff Henriquez and his co-workers fell silent and felt extremely

uncomfortable with the overtly racist and anti-Semitic comment, made by a manager at the

workplace.

         119.   During Plaintiff Saleh’s last 6-months working for DLR, Defendant Bamrick

made derogatory comments and cracked offensive discriminatory jokes in the presence of Mr.

Saleh.

         DLR Management Makes Openly Demeaning Comments about Plaintiff Henriquez

         120.   The discriminatory environment at DLR has also involved comments by DLR

management to other employees openly discussing the amount of Plaintiff Henriquez’s pay in

derogatory terms.


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       121.    On several occasions between 2019 and 2021, Defendant Pego has told Plaintiff

Henriquez’ White colleagues, including Mr. Lindsay, Mr. Clarke, and Mr. Wachnik, that

Plaintiff Henriquez is getting paid “more than he deserves.”

       122.    Defendant Pego’s very public opinion that Plaintiff Henriquez does not deserve to

earn as much as his similarly-situated White counterparts on account of his skin color has caused

Plaintiff Henriquez to feel undervalued and insignificant.

              DLR Requires Dark-Skinned Employees to Do Life-Threatening Work

       123.    The hostile work environment at DLR has also involved the obligation of dark-

skinned employees to engage in extremely dangerous and life-threatening work, while their

White counterparts have not been required to risk their lives in the same way.

       124.    For instance, on a very cold and icy day in January 2021, during a monthly

generator testing maintenance at 32 Avenue of the Americas, New York, New York, Plaintiff

Henriquez’s team ran into a discrepancy in that one of the generators would not start.

       125.    The maintenance on the generator was therefore canceled and Defendant Pego

arranged to come in during Plaintiff Henriquez’s shift to try and assist in troubleshooting.

       126.    Defendant Pego, along with Plaintiff Henriquez, Mr. Zabala and Mr. Cullia, went

up to the 22nd floor, and to the roof where the generator enclosure was stationed.

       127.    Defendant Pego first asked Mr. Cullia, who is White, to climb up to the top of the

generator and clear the ice buildup over the generator exhaust.

       128.    But after climbing to the top and assessing the situation, Mr. Cullia climbed back

down and advised Defendant Pego that the top of the generator was covered in a sheet of ice, and

that slipping would be deadly, as it would almost certainly result in falling down 22 stories.




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       129.    Defendant Pego then ordered Mr. Zabala to climb up and to clean the ice buildup

on the generator exhaust.

       130.    Shocked that Defendant Pego was sending Mr. Zabala up instead of Mr. Cullia

and after Mr. Cullia reported the dangerous conditions, Plaintiff Henriquez told Defendant Pego,

“This is crazy.”

       131.    Ultimately, Mr. Zabala slipped so many times on the ladder on the way up and

was unable to continue to the top of the generator, that Defendant Pego decided to let the matter

go for the time being.

       132.    That Defendant Pego ordered Mr. Zabala, rather than Mr. Cullia, after Mr.

Cullia’s warning, to engage in such life-threatening work demonstrates the little value he has for

the lives of dark-skinned people.

       133.    A similarly dangerous incident occurred in or about September 2017, when

Defendant Pego ordered Plaintiff Henriquez to gather information for a programmable logic

control replacement project by taking live power draws from the ninth-floor automatic transfer

system at 32 Avenue of the Americas.

       134.    There was no personal protective equipment except for gloves and goggles.

       135.    Nonetheless, Defendant Pego opened the 480v live automatic transfer system and

demanded Plaintiff Henriquez to reach inside and take the power measurements.

       136.    Defendant Pego was clearly nervous and uneasy by the danger of the work he was

requiring Plaintiff Henriquez to do, so he asked Aminata Sisco, the front desk security guard, to

stand at the door and keep watch, stating that her presence was necessary “in case something

happens.”




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       137.    Plaintiff Henriquez was sweating and scared for his life, knowing that one false

move would mean instant and painful death.

       138.    Ms. Sisco was very nervous as well.

       139.    But Plaintiff Henriquez, feeling as though he had no choice but to comply, did

what Defendant Pego demanded of him.

       140.    Defendant Pego did not request DLR’s White employees to risk their lives

engaging in such dangerous tasks.

       141.    Plaintiff Saleh has also been required to engage in similarly dangerous work on a

number of occasions throughout his employment at DLR.

                             DLR Retaliates Against the Plaintiffs

                                          Plaintiff Saleh

       142.    In December 2018, a month after Plaintiff Saleh and his similarly situated dark-

skinned colleagues were deprived of the promotion opportunity to the position of Data Center

Supervisor, Plaintiff Saleh learned that he had been passed over and complained to his direct

supervisor, Mr. Greiner.

       143.    To Mr. Greiner, Plaintiff Saleh highlighted DLR’s pattern of discriminatory

conduct in its hiring and promoting practices, pointing to instances where less-qualified White

individuals were awarded jobs instead of more qualified dark-skinned DLR employees.

       144.    After Mr. Greiner relayed Plaintiff Saleh’s complaint to Defendant Bamrick, Mr.

Bamrick stated that Plaintiff Saleh “is a thorn in my ass.”

       145.    A month after Plaintiff Saleh made his complaint to Mr. Greiner and Defendant

Bamrick stated his disapproval with Plaintiff Saleh for having complained about discrimination,

Plaintiff Saleh was abruptly terminated from his employment.


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        146.    On January 14, 2019, at a meeting held by Defendant Bamrick and DLR’s head of

Human Resources Mr. Gourley, Plaintiff Saleh was told that he was fired.

        147.    Of significance, Mr. Falk and Mr. Greiner both opposed Defendants’ decision to

unlawfully terminate Plaintiff Saleh, and in a writing to Plaintiff Saleh, Mr. Falk stated that

Defendants’ decision to terminate him was unlawful and that he should seek legal counsel.

        148.    Moreover, to Lead Engineer Leith Hunt, Mr. Greiner stated that Plaintiff Saleh

and Mr. Clark (who was also terminated) “got screwed by Paul [Bamrick]” because Defendants

unlawfully terminated them.

                                        Plaintiff Henriquez

        149.    On October 1, 2021, Plaintiff Henriquez submitted a written complaint to DLR’s

HR Department, complaining of race discrimination at DLR.

        150.    Immediately thereafter, throughout the week of October 4, 2021, Defendant Pego

began doing something he had never done before: he began coming into work every day between

6:20 a.m. and 6:30 a.m., which is one (1) hour before the end of Plaintiff Henriquez’s shift.

        151.    On each of these occasions, Defendant Pego did not say a word to Plaintiff

Henriquez, and instead just sat at his desk in the office and stared threateningly at Plaintiff

Henriquez until the end of Plaintiff Henriquez’s shift.

        152.    As Defendant Pego only began to do this immediately after Plaintiff Henriquez’s

complaint to HR, it was an act clearly designed to intimidate and threaten Plaintiff Henriquez.

        153.    Early in the morning of October 6, 2021, Defendant Pego’s best friend and DLR

employee Donald Nielson showed up for his shift early and while Plaintiff Henriquez was

finishing his shift.




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       154.    Mr. Nielson sought out Plaintiff Henriquez and said, “What is going on between

you and Manny [Pego]?” Plaintiff Henriquez said, “Nothing.” Mr. Nielson then stated, “I heard

that something is going on.”

       155.    When Plaintiff Henriquez did not respond, Mr. Nielson stated, “Whatever it is,

you should just let it go. Manny [Pego] is tough because he feels you get paid a lot of money and

you should be doing more.”

       156.    As Plaintiff Henriquez had not told anyone about the HR complaint, it was

evident that Defendants had been speaking to other employees about it while at the same time

openly disparaging Plaintiff Henriquez’s performance to his peers, and Mr. Nielson’s warning to

“let it go” clearly came directly from Defendant Pego, his best friend.

       157.    Later that day, in the evening of October 6, 2021, Plaintiff Henriquez received a

text message from Mark Cullia, another DLR employee and close friend of Defendant Pego.

       158.    In the text message, Mr. Cullia warned Plaintiff Henriquez to be careful at work

from now on, as he had found a 22. Caliber bullet casing in the employee bathroom on the fifth

floor at 60 Hudson Street.

       159.    The next evening, Mr. Cullia sent another message to Plaintiff Henriquez advising

him that the person who put the bullet in the bathroom was Defendant Pego.

       160.    Plaintiff Henriquez was filled with panic and anxiety, as the bullet casing was

clearly a death threat meant to be discovered by Plaintiff Henriquez, since Defendant Pego was

well aware that it was the only restroom that Plaintiff Henriquez used while working at DLR.

       161.    On October 15, 2021, another DLR employee named Jesus Ortiz contacted

Plaintiff Henriquez to inform him that Bruce Lindsay, another close friend of Defendant Pego,




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had told him that Plaintiff Henriquez had filed a complaint with HR and that people had been

openly discussing Plaintiff Henriquez’s HR complaint at work.

        162.    On December 1, 2021, due to the increased hostility that Plaintiff Henriquez had

been experiencing at work after complaining about race discrimination, including threatening

behavior from Defendant Pego, disparaging comments about Plaintiff Henriquez made by

management to his colleagues, and obvious death threats from management aimed at Plaintiff

Henriquez, Plaintiff Henriquez had no choice but to leave his position at DLR.

        163.    That is, on December 1, 2021, Plaintiff Henriquez was constructively discharged

from his position at DLR.

                       DLR’s Terminates Other Dark-Skinned Employees

        164.    DLR’s preferential treatment of White employees is also evident in its racist

retention policy.

        165.    Other than the Plaintiffs, several dark-skinned employees have been terminated

from their positions at DLR, including, inter alia, Mauricio Menendez, Luis Henriquez,

Alejandro Collado, Ricardo Montes and Ramon Santana.

        166.    By contrast, upon information and belief, no White DLR employees have been

terminated from their employment.

                            FIRST CAUSE OF ACTION
                VIOLATION OF NEW YORK CITY HUMAN RIGHTS LAW
                      ADMINISTRATIVE CODE § 8-101 ET SEQ.
                        COLOR AND RACE DISCRIMINATION
                               Against All Defendants

        167.    Plaintiffs repeat each and every allegation in the preceding paragraphs as if set

forth fully herein.




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        168.    Defendants have discriminated against Plaintiffs on the basis of their skin color

and race in violation of the NYCHRL by subjecting Plaintiffs to disparate treatment on the basis

of their color and race, including, inter alia, subjecting them to a hostile work environment,

failing to promote them, segregating them, subjecting Plaintiff Henriquez to unfair discipline,

and demoting Mr. Saleh.

        169.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct

in violation of the NYCHRL, Plaintiffs have suffered, and continue to suffer, monetary and/or

economic harm for which they are entitled to an award of monetary damages and other relief.

        170.    As a direct and proximate result of Defendants’ unlawful discriminatory conduct

in violation of the NYCHRL, Plaintiffs have suffered, and continue to suffer, severe mental

anguish and emotional distress for which they are entitled to an award of monetary damages and

other relief.

        171.    Defendants’ unlawful discriminatory conduct was intentional, done with malice

and/or showed a deliberate, willful, wanton and reckless indifference to Plaintiffs’ rights under

the NYCHRL for which they are entitled to an award of punitive damages.

                           SECOND CAUSE OF ACTION
                VIOLATION OF NEW YORK CITY HUMAN RIGHTS LAW
                      ADMINISTRATIVE CODE § 8-101 ET SEQ.
                                 RETALIATION
                              Against All Defendants

        172.    Plaintiffs repeat each and every allegation in the preceding paragraphs as if set

forth fully herein.

        173.    Defendants have retaliated against Plaintiffs on the basis of their opposition to

discrimination, in violation of the NYCHRL, by subjecting Plaintiffs to adverse actions because

they complained about discrimination, including, inter alia, terminating their employment.


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          174.    As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

violation of the NYCHRL, Plaintiffs have suffered, and continue to suffer, monetary and/or

economic harm for which they are entitled to an award of monetary damages and other relief.

          175.    As a direct and proximate result of Defendants’ unlawful retaliatory conduct in

violation of the NYCHRL, Plaintiffs have suffered, and continue to suffer, severe mental anguish

and emotional distress for which they are entitled to an award of monetary damages and other

relief.

          176.    Defendants’ unlawful retaliatory conduct was intentional, done with malice and/or

showed a deliberate, willful, wanton and reckless indifference to Plaintiffs’ rights under the

NYCHRL for which they are entitled to an award of punitive damages.

                               THIRD CAUSE OF ACTION
                   VIOLATION OF NEW YORK CITY HUMAN RIGHTS LAW
                         ADMINISTRATIVE CODE § 8-101 ET SEQ.
                 AIDING AND ABETTING COLOR AND RACE DISCRIMINATION
                            Against Defendants Bamrick and Pego

          177.    Plaintiffs repeat each and every allegation in the preceding paragraphs as if set

forth fully herein.

          178.    By the actions described above, among others, Defendant Bamrick and Defendant

Pego violated the NYCHRL, when they discriminated against the Plaintiffs on account of their

race and skin color.

          179.    As a direct and proximate result of Defendants’ unlawful and discriminatory

conduct in violation of the NYCHRL, Plaintiffs have suffered, and continue to suffer, monetary

and/or other economic harm for which they are entitled an award of economic damages and other

relief.




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        180.    As a direct and proximate result of Defendants’ unlawful conduct in violation of

the NYCHRL, Plaintiffs have suffered, and continue to suffer severe mental anguish and

emotional distress for which they are entitled to an award of compensatory damages and punitive

damages, along with such other relief that the Court deems just and proper.

                           FOURTH CAUSE OF ACTION
                VIOLATION OF NEW YORK CITY HUMAN RIGHTS LAW
                      ADMINISTRATIVE CODE § 8-101 ET SEQ.
                       AIDING AND ABETTING RETALIATION
                         Against Defendants Bamrick and Pego

        181.    Plaintiffs repeat each and every allegation in the preceding paragraphs as if set

forth fully herein.

        182.    By the actions described above, among others, Defendant Bamrick and Defendant

Pego violated the NYCHRL, when they retaliated against the Plaintiffs after they opposed

discrimination.

        183.    As a direct and proximate result of Defendants’ unlawful and retaliatory conduct

in violation of the NYCHRL, Plaintiffs have suffered, and continue to suffer, monetary and/or

other economic harm for which they are entitled an award of economic damages and other relief.

        184.    As a direct and proximate result of Defendants’ unlawful conduct in violation of

the NYCHRL, Plaintiffs have suffered, and continue to suffer severe mental anguish and

emotional distress for which they are entitled to an award of compensatory damages and punitive

damages, along with such other relief that the Court deems just and proper.

                                    PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request judgment as follows:

        A.      A declaratory judgment that the actions, conduct and practices of Defendants

complained of herein violate the laws of the City of New York;


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       B.      An injunction and order permanently restraining Defendants and their partners,

officers, owners, agents, successors, employees and/or representatives and any and all persons

acting in concert with them, from engaging in any such further unlawful conduct, including the

policies and practices complained of herein;

       C.      An order directing Defendants to take such affirmative action as is necessary to

ensure that the effects of these unlawful employment practices are eliminated;

       D.      An award of damages against Defendants, or any jointly or severally liable entity

or person, in an amount to be determined at trial, plus prejudgment interest, to compensate

Plaintiffs for all monetary and/or economic damages;

       E.      An award of back pay for Defendants’ violations of NYCHRL;

       F.      An award of front pay for Defendants’ violations of NYCHRL;

       G.      An award of compensatory damages in an amount that would fully compensate

Plaintiffs, plus prejudgment interest, for the economic loss, mental anguish, emotional pain and

suffering, in an amount to be determined at trial;

       H.      An award of punitive damages to Plaintiffs in an amount that would punish

Defendants for the excessive, extreme, willful, wanton, reckless, and negligent misconduct

alleged in this Complaint that would effectively deter Defendants from future discrimination and

other unlawful behavior, in an amount to be determined at trial;

       I.      An award of all penalties available under the applicable laws;

       J.      Prejudgment interest on all amounts due;

       K.      An award of costs that Plaintiffs incur in this action, as well as an award of

reasonable attorneys’ fees to the fullest extent permitted by law; and

       L.      Such other and further relief as the Court may deem just and proper.


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Dated:        New York, New York
              December 30, 2021
                                         Respectfully submitted,

                                         EISNER DICTOR & LAMADRID, P.C.



                                   By:

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